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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


    JENNIFER SMITH,

           Plaintiff,

                                               CASE NO: 6:24-cv-00457-PGB-RMN

    FLORIDA AGRICULTURAL &
    MECHANICAL UNIVERSITY
    BOARD OF TRUSTEES, et al.


           Defendants.
                                                     /

                           JOINT NOTICE OF CONFERRAL

          Plaintiff, Jennifer Smith, and Defendant, Florida Agricultural & Mechanical

   University Board of Trustees (“FAMU”), in fulfillment of the Standing Order on

   Discovery Motions entered by this Court on March 7, 2024 as Document 8, hereby

   certify: In support, the parties state:

      1. On August 13, 2024, the Court conducted a hearing regarding discovery

          motions (Docs. 88, 89, and part of 116).

      2. The Court issued rulings on these motions the same day (Docs. 143, 144, 145)

          and scheduled a hearing for the remaining discovery motions on August 20,

          2024 (Doc. 146).
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      3. Plaintiff Smith reviewed the contested discovery items on August 14, 2024,

         and made the following amendments:

            a) Requests for Admissions: Withdrew Nos. 27, 29, 73, and 93.

            b) Requests for Production: Withdrew Nos. 3, 16, and 68, and revised No.

               4 to cover the period from 2016 to the present.

      4. On August 15, 2024, Defendant FAMU provided documents in response to

         Requests for Production Nos. 2, 14, 22, 31, and 59, and Plaintiff Smith served

         additional discovery requests.

      5. Plaintiff Smith requested that it be noted the Court granted her Renewed

         Motion to Amend the Complaint (Docs. 133, 146), directing her to submit the

         Corrected Second Amended Complaint ("CSAC") by August 20, 2024, which

         will serve as the operative complaint in this case.

      6. The parties conferred on August 16, 2024, and did provide information but

         were unable to resolve the remaining issues in Defendant’s Motions for

         Protective Order, documents 116, 117, and 118. The Defendant will file a

         summary of outstanding issues prior to the hearing.

   Respectfully submitted August 16, 2024.

   /s/ Maria A. Santoro                          /s/ Jennifer Smith
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    Counsel for Defendant Florida A&M
    University Board of Trustees


                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 16th day of August 2024, I electronically

   filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

   will send a notice of electronic filing to all registered users.


                                                           /s/ Jennifer Smith
                                                           Jennifer Smith (pro se)
                                                           Law Office of Jennifer Smith




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